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                                   UNITED STATES DISTRICT COURT
                                  CENTRAL DISTRICT OF CALIFORNIA

                                             CIVIL MINUTES - GENERAL
 Case No.          CV20-11181-CAS(JPRx)                                          Date   August 9, 2021
 Title             NEMAN BROTHERS AND ASSOCIATES, INC. v. INTERFOCUS, INC. DBA
                   WWW.PATPAT.COM; ET AL. [AND RELATED COUNTERCLAIM]



 Present: The Honorable            CHRISTINA A. SNYDER, U.S. DISTRICT JUDGE
                Catherine Jeang                             Laura Elias                         N/A
                 Deputy Clerk                        Court Reporter / Recorder                Tape No.
                Attorneys Present for Plaintiffs:                   Attorneys Present for Defendants:
                          Chan Jeong                                             Mark Lee
 Proceedings:                 ZOOM STATUS CONFERENCE RE: SETTLEMENT

       Hearing held by Zoom and counsel are present. The Court confers with counsel,
as stated on the record. The Court sets a Further Status Conference re: Settlement on
September 20, 2021 (changed In Chambers), at 11:00 A.M.



                                                                                        00      :       03
                                                               Initials of Preparer          CMJ




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